Case 9:21-cv-82168-AHS Document 15 Entered on FLSD Docket 02/22/2022 Page 1 of 1




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.: 9:21-cv-82168-AHS

  JOHN MORALES,

           Plaintiff,

  vs.

  PUBLIC STORAGE,

        Defendant.
  _______________________________/

                     JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

           Plaintiff, John Morales, and Defendant, Public Storage (collectively, the “Parties”),

  pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), hereby jointly stipulate to the

  voluntary dismissal of this action with prejudice, with each party to bear his/its attorneys’ fees and

  costs in accordance with the terms of the Parties’ Settlement Agreement.

         Dated: February 22, 2022                        Respectfully Submitted,

         THE LEAL LAW FIRM                               Lewis, Brisbois, Bisgaard & Smith, LLP
         8729 Hypoluxo Rd., Suite #157                   110 Southeast 6th Street, Suite 2600
         Lake Worth, Florida 33467                       Fort Lauderdale, Florida 33301
         Telephone: 561-237-2740                         Telephone: (954) 728-1280
                                                         Facsimile: (954) 728-1282
         /s/_Alberto R. Leal____
         Alberto R. Leal, Esq. (FBN 1002345)             /s/Jonathan A. Beckerman
         al@thelealfirm.com                              Jonathan A. Beckerman, Esq. (FBN 568252)
                                                         Jonathan.Beckerman@lewisbrisbois.com
         Counsel for Plaintiff
         JOHN MORALES                                    Counsel for Defendant
                                                         PUBLIC STORAGE




  4873-8432-6928.1
